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                                                            June 1, 2020


-Via Electronic Case Filing -

Monte Chandler, Esq.
The Chandler Law Firm PLLC
70 E. Sunrise Highway, Ste. 500
Valley Stream, NY 11581

       Re:     Bronx Miracle Gospel Tabernacle Word of Faith Ministries, Inc
               Chapter 11 Case No. 19-12447 (SMB)

Dear Mr. Chandler:

       As you know, this firm represents Deborah J. Piazza, the chapter 11 trustee (the
“Trustee”) of Bronx Miracle Gospel Tabernacle Word of Faith Ministries, Inc. (the “Debtor”).

         Pursuant to the attached Amended Rule 2004 Order entered on April 27, 2020 (the “Rule
2004 Order”), the Debtor and its representatives, including but not limited to Rev. Dr. Keith
Elijah Thompson, Deacon Bernel A. Richardson and Minister Jeanette Y. Brown, were required,
inter alia, to produce and deliver to the Trustee any and all documents and information in their
respective possession, custody or control set forth in Schedule A thereto (the “Requested
Documents”) by May 7, 2020. At your request, the Trustee consented to a two-week extension
of the May 7, 2020 deadline to May 21, 2020. The Debtor and its representatives, without
justification, have not produced any of the Requested Documents despite the extension of time
and the Trustee’s various written requests. The Debtor and its representatives are in violation of
the terms of the Rule 2004 Order, and may be subjected to sanctions in accordance with the Rule
2004 Order.
Monte Chandler, Esq.
June 1, 2020
Page 2




       In addition, you have not filed a Rule 2016(b) statement despite Trustee’s various
requests.

        Absent substantial compliance within three days hereof, the Trustee intends to pursue her
legal remedies. Please be guided accordingly.


                                                            Very truly yours,

                                                            /s/ Jill Makower

                                                            Jill Makower


JM:sn
Enclosure
